    Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 1 of 13 PAGEID #: 4003




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

    UNITED STATES OF AMERICA,                   :       Case No. 1:20-cr-77
                                                :
    vs.                                         :       Judge Timothy S. Black
                                                :
    LARRY HOUSEHOLDER (1),                      :
                                                :
           Defendant.                           :

    ORDER DENYING DEFENDANT HOUSEHOLDER’S MOTION TO DISMISS

          This criminal case is before the Court on Defendant Larry Householder’s motion

to dismiss the Indictment for failure to state an offense (Doc. 105) and the parties’

responsive memoranda (Docs. 112, 116, 159, 160).

                                     I. BACKGROUND

          On July 30, 2020, a federal Grand Jury returned a single-count Indictment,

charging Defendant Larry Householder and five co-defendants with participating in a

Racketeer Influenced and Corrupt Organizations (“RICO”) conspiracy, in violation of 18

U.S.C. § 1962(c), (d). (Doc. 22 at 10, 40). Specifically, the Indictment alleges that

Defendants Larry Householder, Jeffrey Longstreth, Neil Clark, Matthew Borges, Juan

Cespedes, and Generation Now (collectively, the “Co-Defendants”), constituted an

enterprise (the “Householder Enterprise”), as defined under 18 U.S.C. § 1961(4).1 (Doc.

22 at 1). The Indictment details the role of the Co-Defendants and other associates in the


1
 Defendants Longstreth, Cespedes, and Generation Now have pleaded guilty and will be
sentenced at the conclusion of the case. (Min. Entries, Oct. 29, 2020, Feb. 9, 2021). Defendant
Neil Clark died and, accordingly, the case against him was dismissed. (Doc. 88). Thus,
Defendants Larry Householder and Matthew Borges are the only remaining defendants.
 Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 2 of 13 PAGEID #: 4004




Householder Enterprise, and states that the purpose of the Householder Enterprise was to

grow Defendant Householder’s political power, to enrich the Householder Enterprise and

its members and associates, and to conceal these activities from public exposure and

potential prosecution. (Id. at 10).

       The Indictment alleges that the Co-Defendants, being employed by and/or

associated with the Householder Enterprise, knowingly and intentionally conspired to

participate in the conduct of and to conduct the Householder Enterprise’s affairs through

a pattern of racketeering activity, as defined in 18 U.S.C. § 1961(1), (5). (Doc. 22 at 10).

The Indictment also lists indictable acts, in which it is alleged that the members of the

Householder Enterprise engaged, including: honest services wire fraud, in violation of 18

U.S.C. §§ 1343, 1346; interference with commerce, robbery, or extortion, in violation of

18 U.S.C. § 1951; racketeering, including multiple acts of bribery under Ohio Rev. Code

§ 35 l 7.22(a)(2), in violation of 18 U.S.C. § 1952; money laundering, in violation of 18

U.S.C. § 1956; engaging in monetary transactions in property derived from specified

unlawful activity, in violation of 18 U.S.C. § 1957; and multiple acts involving bribery,

in violation of Ohio Rev. Code § 2921.02. (Doc. 22 at 10-11). The Indictment further

details, at length, the manner and means by which the conspiracy operated (id. at 11-15),

and specific acts that the Co-Defendants allegedly committed in furtherance of the

conspiracy (id. at 16-40).

       Defendant moves to dismiss the Indictment, pursuant to Fed. R. Crim. P. 7(c) and

12(b)(3)(B)(v), arguing that the Indictment fails to set forth the essential elements of a

RICO conspiracy or to state an offense.


                                              2
 Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 3 of 13 PAGEID #: 4005




                             II. STANDARD OF REVIEW

       Pursuant to Fed. R. Crim. P. 7(c)(1), “[t]he indictment or information must be a

plain, concise, and definite written statement of the essential facts constituting the offense

charged and must be signed by an attorney for the government.” An indictment is

constitutionally sufficient if it: (1) “contains the elements of the offense charged and

fairly informs a defendant of the charge against which he must defend”; and (2) “enables

him to plead an acquittal or conviction in bar of future prosecutions for the same

offense.” United States v. Resendiz-Ponce, 549 U.S. 102, 108 (2007) (citing Hamling v.

United States, 418 U.S. 87, 117 (1974)); see also United States v. Craft, 105 F.3d 1123,

1127 (6th Cir. 1997) (“A conspiracy indictment is valid if it embraces the essential

elements of the conspiracy charged, adequately apprises the defendant of the charges so

that the defendant may intelligently prepare his or her defense and provides protection

against future prosecutions”) (citing Sandroff v. United States, 158 F.2d 623, 624–25 (6th

Cir. 1946)). Apart from protecting the rights of the accused, the constitutional

requirements of a valid indictment further “inform the court of the facts alleged, so that it

may decide whether they are sufficient in law to support a conviction ….” Russell v.

United States, 369 U.S. 749, 768 (1962).

       Thus, an indictment is legally deficient where it fails to set forth facts which

constitute an offense or to identify the essential elements of the offense. United States v.

Landham, 251 F.3d 1072, 1080 (6th Cir. 2001). Such deficiencies cannot be remedied by

amending the indictment or ordering the Government to provide a bill of particulars.

Russell, 369 U.S. at 769-771.


                                              3
 Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 4 of 13 PAGEID #: 4006




       Accordingly, a defendant may bring a motion to dismiss, asserting a defect in the

indictment, if the indictment fails to state an offense. Fed. R. Crim. P. 12(b)(3)(B)(v).

When the court reviews such a motion, “[t]he indictment must be read as a whole,

accepting the factual allegations as true, and construing those allegations in a practical

sense with all the necessary implications.” United States v. McAuliffe, 490 F.3d 526, 531

(6th Cir. 2007) (citing United States v. Reed, 77 F.3d 139, 140 n. 1 (6th Cir. 1996) (en

banc)). If and as appropriate, the court “may ordinarily make preliminary findings of fact

necessary to decide questions of law … so long as the trial court’s conclusions do not

invade the province of the ultimate factfinder.” Craft, 105 F.3d at 1126. But “courts

evaluating motions to dismiss do not evaluate the evidence upon which the indictment is

based.” Landham, 251 F.3d at 1080 (emphasis added).

       Ultimately, minor defects, such as clerical or citation errors, that neither mislead

nor prejudice a defendant are not a basis upon which to dismiss an indictment. Fed. R.

Crim. P. 7(c)(2), 52. However, if the court finds that “the indictment is legally deficient,

the proper result is dismissal of the indictment.” Landham, 251 F.3d at 1080.

                                     III. ANALYSIS

       Defendant argues that the Indictment is deficient because: (A) the Indictment fails

to plead a RICO “enterprise”; (B) the Indictment fails to plead a “pattern of racketeering

activity”; and (C) the state court predicate offenses are improper.

       As set forth, infra, the Court finds no merit to Defendant’s arguments. In sum,

Defendant’s motion is largely premised on the notion that the Indictment must meet a

heightened pleading standard, akin to a civil fraud complaint. But this is not the case for


                                              4
    Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 5 of 13 PAGEID #: 4007




a criminal indictment, even for a RICO offense. And, in any event, the Indictment here is

sufficiently specific to pass muster.

          A. The Indictment Sufficiently Pleads a RICO “Enterprise”

          Defendant argues that the Government fails to plead any facts to support the

structural features of a RICO “enterprise.” (Doc. 105 at 6). Rather, Defendant asserts

that the Indictment merely “identifies the [Co-]Defendants as allegedly being members of

the association-in-fact enterprise and then states, in a circular fashion, that their purpose

was to “achiev[e] the objectives of the enterprise.” (Id.) (quoting Doc. 22 at 1).

Defendant further asserts that the Indictment fails to specify the relationship between the

Co-Defendants and how they coordinated to achieve a common purpose. (Doc. 105 at 7-

8). The Court disagrees.

          Pursuant to 18 U.S.C. § 1961(4), a RICO “enterprise” is defined as “any

individual, partnership, corporation, association, or other legal entity, and any union or

group of individuals associated in fact although not a legal entity.” In other words, RICO

essentially creates two categories of enterprises: (1) legal entities such as corporations

and partnerships; and (2) informal associations-in-fact. United States v. Turkette, 452

U.S. 576, 581-82 (1981).2

          Thus, an “enterprise is an entity, for present purposes[,] a group of persons

associated together for a common purpose of engaging in a course of conduct.” Id. at

583. The statute does not specify “the outer boundaries of the ‘enterprise’ concept,” but



2
    In the instant case, the Government has alleged an association-in-fact.

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 Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 6 of 13 PAGEID #: 4008




the definition is to be broadly construed in order to effectuate the statute’s remedial

purpose. Boyle v. United States, 556 U.S. 938, 944 (2009). Proving the existence of a

RICO enterprise requires “evidence of an ongoing organization, formal or informal, and

by evidence that the various associates function as a continuing unit.” Turkette, 452 U.S.

at 583.

          As to the organization, the Supreme Court has explained that the structure of the

enterprise does not need to be formal, sophisticated, or complex. Boyle, 556 U.S at 948.

                 [A]n association-in-fact enterprise is simply a continuing unit
                 that functions with a common purpose. Such a group need not
                 have a hierarchical structure or a “chain of command”;
                 decisions may be made on an ad hoc basis and by any number
                 of methods – by majority vote, consensus, a show of strength,
                 etc. Members of the group need not have fixed roles; different
                 members may perform different roles at different times. The
                 group need not have a name, regular meetings, dues,
                 established rules and regulations, disciplinary procedures, or
                 induction or initiation ceremonies.

Id. (citing generally, Turkette, 452 U.S. 576). Rather, an association-in-fact enterprise is

sufficiently structured if it includes “at least three features: a purpose, relationships

among those associated with the enterprise, and longevity sufficient to permit these

associates to pursue the enterprise’s purpose.” Boyle, 556 U.S. at 946.

          Here, contrary to Defendant’s assertions, the Indictment sets forth, in detail, the

connection of each of the Co-Defendants to one another, including Defendant

Householder’s connection to every other Co-Defendant and unindicted associates. (Doc.

22 at 2-10). Moreover, the Indictment goes beyond merely alleging a surface-level or

coincidental connection between the Co-Defendants. Rather, the Indictment sets forth



                                                 6
    Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 7 of 13 PAGEID #: 4009




the Co-Defendants’ concerted effort, working together as a cohesive structure, over time,

to manipulate the legislative process, obtain and retain political power on behalf of

Defendant Householder, benefit financially, and obfuscate the nature of their activities.

        In short, the Indictment sufficiently alleges that the Co-Defendants formed an

association-in-fact enterprise, including “a purpose, relationships among those associated

with the enterprise, and longevity sufficient to permit these associates to pursue the

enterprise’s purpose.” Boyle, 556 U.S. at 946. Accordingly, the Court finds that the

Indictment sufficiently pleads the existence of a RICO enterprise.

        B. The Indictment Sufficiently Pleads a “Pattern of Racketeering Activity”

        Next, Defendant argues that the Indictment fails to plead a “pattern of racketeering

activity” or that the Co-Defendants conspired to commit the “underlying substantive”

offense.3 (Doc. 105 at 6-12). Defendant further argues, in essence, that the Indictment

fails to specify how the alleged conduct constitutes the criminal act of bribery (i.e., a quid

pro quo) as opposed to the natural course of political activities. And, as a result,

Defendant Householder argues that the bribery and money laundering-related predicate

offenses should be stricken from the Indictment.

        Pursuant to the RICO statute, it is unlawful for any person who is either employed

by or associated with an enterprise “to conduct or participate, directly or indirectly, in the

conduct of such enterprise’s affairs through a pattern of racketeering activity ….” 18

U.S.C. § 1962(c). A “‘pattern of racketeering activity’ requires at least two acts of


3
 Though the underlying substantive crime in this case is the RICO offense, Defendant’s
argument appears to be focused on the predicate offenses.

                                              7
 Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 8 of 13 PAGEID #: 4010




racketeering activity,” of which the first and last acts must have occurred within the

statute’s specified timeframe. 18 U.S.C. § 1961(5). And “racketeering activity” is

defined as “any act or threat involving murder, kidnapping, gambling, arson, robbery,

bribery, extortion, dealing in obscene matter, or dealing in a controlled substance or listed

chemical …, which is chargeable under State law and punishable by imprisonment for

more than one year,” as well as any of the long-list of federal predicate offenses included

within the statute’s definition. 18 U.S.C. § 1961(1).

       In short, a pattern of racketeering activity requires at least two predicate acts of

racketeering, “occurring over an extended period of time,” which acts are “connected to

the enterprise’s affairs and operations.” United States v. Nicholson, 716 F. App’x 400,

407 (6th Cir. 2017) (citations omitted); see also Turkette, 452 U.S. at 583 (proving a

“pattern of racketeering activity” requires “evidence of the requisite number of acts of

racketeering committed by the participants in the enterprise”).

       Notably, however, “to prove RICO conspiracy, the prosecution is not required to

show that a defendant actually committed a racketeering act or any overt act at all.”

Nicholson, 716 F. App’x at 407 (citing Salinas v. United States, 522 U.S. 52, 65 (1997)).

“Instead, a RICO conspiracy conviction can be sustained if a defendant agreed that either

he or someone else would commit at least two RICO predicate acts,” and “[t]his

agreement … may be inferred from a defendant’s acts.” Nicholson, 716 F. App’x at 408

(citations omitted).

       Here, as an initial matter, the Court finds no merit in Defendant’s contention that

the Indictment fails to identify specific payments in exchange for specific official actions.


                                              8
    Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 9 of 13 PAGEID #: 4011




This argument fails, fundamentally, because such specificity is not the pleading standard

for an indictment.4

        Moreover, Defendant acknowledges that the Indictment alleges a bribery scheme,

set forth in the Indictment as follows:

               Householder’s Enterprise agreed to receive and accept millions
               of dollars in bribe payments from Company A, including bribe
               payments paid through GENERATION NOW, in return for
               HOUSEHOLDER taking specific official action for the benefit
               of Company A, namely to help enact into law legislation that
               would go into effect and save the operation of the Nuclear
               Plants.

(Doc. 105 at 12-13) (citing Doc. 22 at 12-13). However, Defendant responds to this

allegation by stating that “the specific official actions the government alleges

Householder performed (crafting legislation, creating House committees, and voting on


4
  Defendant filed a Notice of Supplemental Authority, citing a recent Order out of the Southern
District of New York (“SDNY”), issued in the case United States v. Benjamin, No. 21-cr-706
(JPO), 2022 WL 17417038 (S.D.N.Y. Dec. 5, 2022). (Doc. 159). In Benjamin, the SDNY
District Court dismissed counts of conspiracy to commit bribery and honest services wire fraud
(18 U.S.C. § 371); bribery (18 U.S.C. § 666(a)(1)(B)); and honest services wire fraud, noting that
the Indictment failed to explicitly allege a quid pro quo. 2022 WL 17417038 at *15. The SDNY
District Court made clear, however, that its decision to dismiss the counts was made in reliance
on Second Circuit precedent. Id. (“Bound by guidance from the Second Circuit, the Court
concludes that Counts One, Two, and Three of the Indictment must be dismissed for failure to
charge an essential element”). In that regard, Defendant’s reliance on Benjamin is misplaced
here, because the Benjamin ruling conflicts with Sixth Circuit precedent. See, e.g., United States
v. Terry, 707 F.3d 607, 613 (6th Cir. 2013) (“So long as a public official agrees that payments
will influence an official act, that suffices. What is needed is an agreement, full stop, which can
be formal or informal, written or oral. As most bribery agreements will be oral and informal, the
question is one of inferences taken from what the participants say, mean and do, all matters that
juries are fully equipped to assess … [And] [e]ach payment did not need to be tied to a specific
official act, so long as [the defendant] understood that, whenever the opportunity present[ed]
itself, [he] would take specific official actions on the giver’s behalf”) (citations and quotation
marks omitted); United States v. Blandford, 33 F.3d 685, 696 (6th Cir. 1994) (“that the quid pro
quo of McCormick is satisfied by something short of a formalized and thoroughly articulated
contractual arrangement (i.e., merely knowing the payment was made in return for official acts is
enough)”).

                                                9
 Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 10 of 13 PAGEID #: 4012




HB 6) were actions Householder performed years after Generation Now received its first

contribution from FirstEnergy.” (Doc. 105 at 13). This argument is premature.

Specifically, Defendant conflates what may be an argument in his defense (i.e., a factual

determination) with his argument for why the Indictment is legally deficient. And

Defendant further conflates what the Indictment must contain to survive dismissal with

what the Government must prove at trial to secure a conviction. In short, at trial, the

Government will be required to present specific evidence in order to secure a conviction,

and Defendant will have the opportunity to challenge that evidence through cross-

examination and/or the presentation of his own evidence (though he is not required to do

so). Weighing this evidence is the jury’s role—not the Court’s.

       At this stage, pretrial, the Court’s sole focus is whether the Indictment is legally

sufficient to put Defendant on notice of the offense with which he is charged. And the

Court finds no deficiency in that regard. Specifically, the Indictment sufficiently pleads a

“pattern of racketeering activity.” That is, the Indictment: alleges that from 2016 to

2020, the Co-Defendants conspired to violate RICO under 18 U.S.C. § 1962(c);

identifies, by statute, the specific offenses that constitute “racketeering activity”; and

alleges that “[i]t was part of the conspiracy that each Defendant agreed that a conspirator

would commit at least two acts of racketeering activity in the conduct of the affairs of the

enterprise.” (Doc. 22 at 10-11). The Indictment also goes further by describing some of

the conduct in which the Co-Defendants allegedly engaged in furtherance of the

conspiracy. (Id. at 11-40). Admittedly, the Indictment does not label each alleged act




                                              10
 Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 11 of 13 PAGEID #: 4013




with its related racketeering activity—but the Government has no obligation to spoon-

feed its entire case to a defendant at any point pretrial, let alone in an indictment.

          Ultimately, because the Indictment tracks the language of the statute and further

provides factual allegations that adequately inform Defendant Householder of the specific

offense with which he is charged, the Indictment is legally sufficient. Hamling, 418 U.S.

at 117.

          C. The State Court Predicate Offenses are Properly Included

          Among the predicates offenses listed in the Indictment, the Government includes

acts relating to: racketeering, including multiple acts of bribery under Ohio Rev. Code

§ 35 l 7.22(a)(2), in violation of 18 U.S.C. § 1952 (the “Travel Act”); and multiple acts

involving bribery, chargeable under Ohio Rev. Code § 2921.02. (Doc. 22 at 11). As to

these two predicates, Defendant argues that, “[e]ven if the Court does not dismiss the

Indictment, the Court should dismiss the State-law predicate offenses the Defendants

allegedly conspired to commit.” (Doc. 105 at 14-17).

          Specifically, as to the Travel Act, Defendant argues that the Ohio statute requires,

as a prerequisite to prosecution, that a complaint be “filed with the Ohio elections

commission under section 3517.153 of the Revised Code.” (Doc. 105 at 15) (citing Ohio

Rev. Code § 3517.22(C)). Defendant asserts that, because the Government filed no such

complaint, it has failed to comply with the Ohio statute and therefore cannot prove that

Defendant violated state law. And as to the Ohio bribery predicates, Defendant argues

that the Indictment charges a RICO conspiracy, but Ohio law does not recognize

conspiracy to commit bribery.


                                               11
    Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 12 of 13 PAGEID #: 4014




         Both of these arguments fail for the same reason—the Government is not actually

charging Defendant with the predicate offenses. As previously stated, it is unlawful for

anyone employed or associated with an enterprise “to conduct or participate, directly or

indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering

activity.” 18 U.S.C. § 1962(c). And “racketeering activity” is defined as any act which

is “chargeable” or “indictable” under the list of offenses included in 18 U.S.C. § 1961(1)

(emphasis added). In other words, the RICO statute calls for the commission of acts that

could be charged, not acts that will be/have been charged. As the Government does not

actually have to charge a predicate offense separately, the Government also has no

obligation to undertake the administrative steps that would accompany prosecuting a

predicate offense.

         Moreover, Defendant’s argument is particularly meaningless in the context of a

RICO conspiracy. “[T]o prove RICO conspiracy, the prosecution is not required to show

that a defendant actually committed a racketeering act or any overt act at all.” Nicholson,

716 F. App’x at 407 (citing Salinas, 522 U.S. at 65).5 Nor would the Government have to

prove that it could have charged conspiracy to commit bribery under state law merely

because the RICO offense is charged as a conspiracy. “[A] RICO conspiracy conviction

can be sustained if a defendant agreed that either he or someone else would commit at

least two RICO predicate acts.” Nicholson, 716 F. App’x at 408 (citations omitted)


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 See also United States v. Saadey, 393 F.3d 669, 677 (6th Cir. 2005) (“conviction on a charge
of RICO conspiracy does not require the government to prove that any predicate act was actually
committed at all. Therefore, the fact that the conduct charged [under the Ohio Revised Code]
cannot constitute a predicate offense is immaterial to [the defendant’s] conviction”).

                                              12
 Case: 1:20-cr-00077-TSB Doc #: 172 Filed: 01/03/23 Page: 13 of 13 PAGEID #: 4015




(emphasis added). Thus, there is no requirement that the Government prove a conspiracy

of the predicate offense—just a conspiracy of the RICO offense.

      For these reasons, dismissal of the Travel Act and Ohio bribery predicates is

unwarranted.

                                 IV. CONCLUSION

       Accordingly, based upon the foregoing, Defendant’s motion to dismiss (Doc. 105)

is DENIED.

      IT IS SO ORDERED.

Date: 1/3/2023
                                                          Timothy S. Black
                                                          United States District Judge




                                           13
